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                                                                          4                         UNITED STATES DISTRICT COURT
                                                                          5                       NORTHERN DISTRICT OF CALIFORNIA
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                                                                          8   IN RE: CATHODE RAY TUBE (CRT)      )         Master File
                                                                                                                 )         No. CV-07-5944 SC
                                                                          9   ANTITRUST LITIGATION               )
                                                                                                                 )         MDL No. 1917
                                                                         10                                      )
                                                                              This document relates to:          )         ORDER RE: SPECIAL
                               For the Northern District of California




                                                                         11                                      )         MASTER'S DUTIES
United States District Court




                                                                              ALL ACTIONS                        )
                                                                         12   ___________________________________)
                                                                         13        On June 16, 2008, the Court appointed the Honorable Charles
                                                                         14   A. Legge, United States District Judge (Retired), as a Special
                                                                         15   Master to assist the Court in this litigation ("Order").            Docket
                                                                         16   No. 302.   Pursuant to that Order, all motions that will be filed
                                                                         17   in this litigation are referred to Judge Legge, who will issue
                                                                         18   recommendations and tentative rulings on the motions.             These
                                                                         19   recommendations will be subject to the Court's final approval.
                                                                         20   See Order ¶¶ 16-19.     The parties are to contact Sarah Nevins,
                                                                         21   Judge Legge's Case Manager, at 415-774-2657 to calendar all such
                                                                         22   motions.
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                                                                         24        IT IS SO ORDERED.
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                                                                         26        Dated: April 8, 2009
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                                                                                                                      UNITED STATES DISTRICT JUDGE
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